 Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 1 of 8 PageID: 24




                                             U S Department of Justice

                                             United States Attorney
                                             District ofNew Jersey


                                            970 Broad Street. Suite 700         (973,) 645-2700
                                            Newark, New Jersey 07102

EDL/PL AGR
2016R00259



                                            May 23, 2016

Lisa Mack, Esq.
Federal Public Defender’s Office
District of New Jersey
1002 Broad Street
Newark, NJ 07102

             Re: Plea Agreement with Omar Rivera
                           1L-e]?-’-1tOCCC-C)
Dear Ms. Mack:

             This letter sets forth the plea agreement between your client, Omar
Rivera, and the United States Attorney for the District of New Jersey (“this
Office”). The government’s offer to enter into this plea agreement will expire on
June 10, 2016 if it is not accepted in writing by that date.

Charge

             Conditioned on the understandings specified below, this Office will
 accept a guilty plea from Omar Rivera to a one-count Information that charges
him with being a felon in possession of a firearm in violation of
 18 U.S.C. § 922(g)(1) and 2. If Omar Rivera enters a guilty plea and is
 sentenced on this charge, and otherwise fully complies with all of the terms of
this agreement, this Office will not initiate any further criminal charges against
Omar Rivera for (i) possession of a firearm on or about April 20, 2016 in Union
County, New Jersey; or (ii) possession or distribution of a controlled substance
on or about April 20, 2016 in Union County, New Jersey. However, in the
event that a guilty plea in this matter is not entered for any reason or the
judgment of conviction entered as a result of this guilty plea does not remain in
full force and effect, Omar Rivera agrees that any dismissed charges and any
other charges that are not time-barred by the applicable statute of limitations
on the date this agreement is signed by Omar Rivera may be commenced
against him, notwithstanding the expiration of the limitations period after
Omar Rivera signs the agreement.
Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 2 of 8 PageID: 25           1’’




Sentencing

              The violation of 18 U.S.C. § 922(g)(1) to which Omar Rivera agrees
to plead guilty carries a statutory maximum prison sentence of 10 years and a
statutory maximum fine equal to the greatest of; (1) $250,000, or (2) twice
                                                                             the
gross amount of any pecuniary gain that any persons derived from the offense,
or (3) twice the gross amount of any pecuniary loss sustained by any victims of
the offense. Fines imposed by the sentencing judge may be subject to the
payment of interest.

              The sentence to be imposed upon Omar Rivera is within the sole
discretion of the sentencing judge, subject to the provisions of the Sentencing
Reform Act, 18 U.S.C. § 355 1-3742, and the sentencing judge’s consideration
of the United States Sentencing Guidelines. The United States Sentencing
Guidelines are advisory, not mandatory, The sentencing judge may impose any
reasonable sentence up to and including the statutory maximum term of
imprisonment and the maximum statutory fine. This Office cannot and does
not make any representation or promise as to what guideline range may be
found by the sentencing judge, or as to what sentence Omar Rivera ultimately
will receive.

              Further, in addition to imposing any other penalty on Omar Rivera,
the sentencing judge: (1) will order Omar Rivera to pay an assessment of $100
pursuant to 18 U.S.C. § 3013, which assessment must be paid by the date of
sentencing; (2) may order Omar Rivera to pay restitution pursuant to
 18 U.S.C. § 3663 et seq.; (3) must order forfeiture pursuant to
 18 U.S.C. § 924(d); and (4) pursuant to 18 U.S.C. § 3583, may require Omar
Rivera to serve a term of supervised release of not more than 3 years, which
will begin at the expiration of any term of imprisonment imposed. Should
Omar Rivera be placed on a term of supervised release and subsequently
violate any of the conditions of supervised release before the expiration of its
term, Omar Rivera may be sentenced to not more than 2 years’ imprisonment
in addition to any prison term previously imposed, regardless of the statutory
maximum term of imprisonment set forth above and without credit for time
previously served on post-release supervision, and may be sentenced to an
additional term of supervised release.

Rights of This Office Regarding Sentencing

             Except as otherwise provided in this agreement, this Office
reserves its right to take any position with respect to the appropriate sentence
to be imposed on Omar Rivera by the sentencing judge, to correct any
misstatements relating to the sentencing proceedings, and to provide the
sentencing judge and the United States Probation Office a]l law and
                                      -2-
 Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 3 of 8 PageID: 26




information relevant to sentencing, favorable or otherwise. In addition, this
Office may inform the sentencing judge and the United States Probation Office
of: (1) this agreement; and (2) the full nature and extent of Omar Rivera’s
activities and relevant conduct with respect to this case.

Stipulations

             This Office and Omar Rivera agree to stipulate at sentencing to the
statements set forth in the attached Schedule A, which hereby is made a part
of this plea agreement. This agreement to stipulate, however, cannot and does
not bind the sentencing judge, who may make independent factual findings
and may reject any or all of the stipulations entered into by the parties. To the
extent that the parties do not stipulate to a particular fact or legal conclusion,
each reserves the right to argue the existence of and the effect of any such fact
or conclusion upon the sentence. Moreover, this agreement to stipulate on the
part of this Office is based on the information and evidence that this Office
possesses as of the date of this agreement. Thus, if this Office obtains or
receives additional evidence or information prior to sentencing that it
determines to be credible and to be materially in conflict with any stipulation in
the attached Schedule A, this Office shall not be bound by any such
stipulation. A determination that any stipulation is not binding shall not
release either this Office or Omar Rivera from any other portion of this
agreement, including any other stipulation. If the sentencing court rejects a
stipulation, both parties reserve the right to argue on appeal or at
post-sentencing proceedings that the sentencing court was within its discretion
and authority to do so. These stipulations do not restrict this Office’s right to
respond to questions from the Court and to correct misinformation that has
been provided to the Court.

Waiver of Appeal and Post-Sentencing Rights

             As set forth in Schedule A, this Office and Omar Rivera waive
certain rights to file an appeal, collateral attack, writ, or motion after
sentencing, including but not limited to an appeal under 18 U.S.C. § 3742 or a
motion under 28 U.S.C. § 2255.

Forfeiture

              Omar Rivera agrees that as part of his acceptance of responsibility
and pursuant to 18 u.s.c. § 924(d)(l) and 28 U.S.C. § 246 1(c), he agrees to
forfeit and abandon to federal, state, and/or local law enforcement all rights,
title and interest in the Imbel 45 mm caliber, model 1911 Al semiautomatic
pistol, bearing serial number WW92963, and seven rounds of 45 mm caliber
ammunition recovered on or about April 20, 2016 (collectively, the “Firearm”).
                                        -3-
  Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 4 of 8 PageID: 27           ,   f




Omar Rivera acknowledges that the Firearm was involved or used in his
knowing violation of 18 U.S.C. § 922(g)(1), and thus is subject to forfeiture to
the United States pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. 2461.
                                                                  §
               Omar Rivera further agrees to waive all interest in the Firearm in
any administrative or judicial forfeiture proceeding, whether criminal or civil,
state or federal. Omar Rivera agrees to consent to the entry of orders of
forfeiture for the Firearm and waives the requirements of Rules 32.2 and 43(a)
of the Federal Rules of Criminal Procedure regarding notice of the forfeiture in
the charging instrument, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Omar Rivera understands that
the forfeiture of the Firearm is part of the sentence that may be imposed in this
case and waives any failure by the court to advise him of this pursuant to Rule
1 1(b)(1)(J) of the Federal Rules of Criminal Procedure at the guilty plea
proceeding. Omar Rivera hereby waives any and all claims that this forfeiture
constitutes an excessive fine and agrees that this forfeiture does not violate the
Eighth Amendment. Omar Rivera further waives any additional notice
requirement in connection with the forfeiture and abandonment of the Firearm
and consents to the destruction of the forfeited and abandoned firearm and
ammunition at the discretion of federal, state, and/or local law enforcement.

Immigration Consequences

             Omar Rivera understands that, if he is not a citizen of the United
States, his guilty plea to the charged offense will likely result in his being
subject to immigration proceedings and removed from the United States by
making him deportable, excludable, or inadmissible, or ending his
naturalization. Omar Rivera understands that the immigration consequences
of this plea will be imposed in a separate proceeding before the immigration
authorities. Omar Rivera wants and agrees to plead guilty to the charged
offense regardless of any immigration consequences of this plea, even if this
plea will cause his removal from the United States. Omar Rivera understands
that he is bound by his guilty plea regardless of any immigration consequences
of the plea. Accordingly, Omar Rivera waives any and all challenges to his
guilty plea and to his sentence based on any immigration consequences, and
agrees not to seek to withdraw his guilty plea, or to file a direct appeal or any
kind of collateral attack challenging his guilty plea, conviction, or sentence,
based on any immigration consequences of his guilty plea.




                                      -4-
   Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 5 of 8 PageID: 28



Other Provisions

             This agreement is limited to the United States Attorney’s Office for
the District of New Jersey and cannot bind other federal, state, or local
authorities. However, this Office will bring this agreement to the attention of
other prosecuting offices, if requested to do so.

             This agreement was reached without regard to any civil or
administrative matters that may be pending or commenced in the future
against Omar Rivera. This agreement does not prohibit the United States, any
agency thereof (including the Internal Revenue Service and Immigration and
Customs Enforcement) or any third party from initiating or prosecuting any
civil or administrative proceeding against Omar Rivera.

             No provision of this agreement shall preclude Omar Rivera from
pursuing in an appropriate forum, when permitted by law, an appeal, collateral
attack, writ, or motion claiming that Omar Rivera received constitutionally
ineffective assistance of counsel.

No Other Promises

            This agreement constitutes the plea agreement between Omar
Rivera and this Office and supersedes any previous agreements between them.
No additional promises, agreements, or conditions have been made or will be
made unless set forth in writing and signed by the parties.

                                             Very truly yours,

                                             PAULJ. FISHMAN
                                             United States Attorney



                                             By: SVETLANA EISENBERG
                                             Assistant U.S. Attorney

APPROVED:



DA IDM.ESKEW
Deputy Chief, General Crimes Unit


                                       -5-
 Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 6 of 8 PageID: 29




            I have received this letter from my attorney, Lisa Mack, Esq. I have
read it. My attorney and I have discussed it and all of its provisions, including
those addressing the charge, sentencing, stipulations, waiver, forfeiture and
immigration consequences. I understand this letter fully. I hereby accept its
terms and conditions and acknowledge that it constitutes the plea agreement
between the parties. I understand that no additional promises, agreements, or
conditions have been made or will be made unless set forth in writing and
signed by the parties. I want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:



                                            Date:     2      j
Omar Rivera



             I have discussed with my client this plea agreement and all of its
provisions, including those addressing the charge, sentencing, stipulations,
waiver, forfeiture and immigration consequences. My client understands this
plea agreement fully and wants to plead guilty pursuant to it.



                                            Date:




                                      -6-
b
      Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 7 of 8 PageID: 30




                            Plea Agreement With Omar Rivera

                                        Schedule A

                 1. This Office and Omar Rivera recognize that the United States
    Sentencing Guidelines are not binding upon the Court. This Office and Omar
    Rivera nevertheless agree to the stipulations set forth herein, and agree that
    the Court should sentence Omar Rivera within the Guidelines range that
    results from the total Guidelines offense level set forth below. This Office and
    Omar Rivera further agree that neither party will argue for the imposition of a
    sentence outside the Guidelines range that results from the agreed total
    Guidelines offense level.

                2. The version of the United States Sentencing Guidelines effective
    November 1, 2015 applies in this case. The applicable guideline is
    U.S.S.G. § 2K2.l.

                 3. This guideline carries a Base Offense Level of 20 because Omar
    Rivera committed this offense subsequent to sustaining one felony conviction of
    a controlled substance offense. U.S.S.G. § 2K2.1(a)(4)(A).

                 4. As of the date of this letter, it is expected that Omar Rivera will
    enter a plea of guilty prior to the commencement of trial, will truthfully admit
    his involvement in the offense and related conduct, and will not engage in
    conduct that is inconsistent with such acceptance of responsibility. If all of
    these events occur, and Omar Rivera’s acceptance of responsibility continues
    through the date of sentencing, a downward adjustment of 2 levels for
    acceptance of responsibility will be appropriate. See U.S.S.G. § 3E1.1(a) and
    Application Note 3.

                 5. As of the date of this letter, it is expected that Omar Rivera will
    assist authorities in the investigation or prosecution of his own misconduct by
    timely notifying authorities of his intention to enter a plea of guilty, thereby
    permitting this Office to avoid preparing for trial and permitting this Office and
    the court to allocate their resources efficiently. At sentencing, this Office will
    move for a further 1 -point reduction in Omar Rivera’s offense level pursuant to
    U.S.S.G, § 3E1.1(b) if the following conditions are met: (a) Omar Rivera enters
    a plea pursuant to this agreement, (b) this Office in its discretion determines
    that Omar Rivera’s acceptance of responsibility has continued through the date
    of sentencing and Omar Rivera therefore qualifies for a 2-point reduction for
    acceptance of responsibility pursuant to U.S.S.G. § 3E1.l(a), and (c) Omar
    Rivera’s offense level under the Guidelines prior to the operation of 3El.1(a)
    is 16 or greater.


                                            -7-
 Case 2:16-cr-00410-CCC Document 14 Filed 09/13/16 Page 8 of 8 PageID: 31




            6. In accordance with the above, the parties agree that the total
Guidelines offense level applicable to Omar Rivera is 17 (the “agreed total
Guidelines offense level”).

             7. The parties agree not to seek or argue for any upward or
downward departure, adjustment or variance not set forth herein. The parties
further agree that a sentence within the Guidelines range that results from the
agreed total Guidelines offense level is reasonable.

              8. Omar Rivera knows that lie has and, except as noted below in
this paragraph, voluntarily waives, the right to file any appeal, any collateral
attack, or any other writ or motion, including but not limited to an appeal
under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges
the sentence imposed by the sentencing court if that sentence falls within or
below the Guidelines range that results from the agreed total Guidelines
offense level of 17. This Office will not file any appeal, motion, or writ which
challenges the sentence imposed by the sentencing court if that sentence falls
within or above the Guidelines range that results from the agreed total
Guidelines offense level of 17. The parties reserve any right they may have
under 18 U.S.C. § 3742 to appeal the sentencing court’s determination of the
criminal history category. The provisions of this paragraph are binding on the
parties even if the Court employs a Guidelines analysis different from that
stipulated to herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal, collateral attack, writ,
or motion claiming that the sentencing court erred in doing so.

              9. Both parties reserve the right to oppose or move to dismiss any
appeal, collateral attack, writ, or motion barred by the preceding paragraph
and to file or to oppose any appeal, collateral attack, writ or motion not barred
by the preceding paragraph.




                                        -8-
